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Case 1:13-cv-22500-CMA Document 1-6 Entered on FLSD Docket 07/12/2013 Page 2 of 3




     From :             Jonathan ThomasLord
     To:                Jack Iord
     Subject:           Fwd:1MLi
                               nvestigation
     Date:              Friday,December21,2012 5:18:43 PM



     Jack Lord,M D
     ChiefOperating Offi cerand VP forMedicalAdministration
     University ofM iam iHeaIth System and
     University ofM iam iM illerSchoolofM edicine

     ProfessorofPathology
     University ofM iam iMillerSchoolofMedicine

     1120 NW 14th Street
     3rd Floor-Executive Suite
     M iam i,FL. 33136

     jIord@ med.miami.edu
     305.299.7741(mobile)
     305.243.0145(office)



     Begin forwarded m essage'
                             .


              From :''Ugalde,Aileen M''<augalde@ miami.edu>
              Subject:IML investigation
              Date:Decem ber21,2012 4:36:44 PM EST
              To:''Mccaffedy-cepero,Jennifer''<lMccafferty@ med.miami.edu>
              Cc:''Shalala,Donna E.''<dshalala@ miami.edu>,''LeBlanc,ThomasJ''
              <leblanc@ miami.edu>,''Natoli1Joe''<jnatoli@ miami.edu>,''Goldschmidt1
              PascalJ.''<pgoldschm'ldt@ m'
                                         lam'l.edu>,''L0rd,Jonathan''
              <ll-ord@ med.miami.edu>,''Moloney,MichaelJ.''
              <mmoloney@ miami.edu>
              The Presidenthasdirected that,effectively imm ediately,the investigation ofthe IM L
              be Ied and managed by InternalAudit.InternalAuditwillbe contacting youto
              coordinate the transferofaIIdatagathered relative to the investigation,aswellas
              oversightofthe retainedoutsideconsultant.

              W ileen M Ugalde
              Vice President,General Counsel
               and Secretary to the Board
              University ofM imm i
              1320 South Dixie Highw ay
              Penthouse Suite 1250
Case 1:13-cv-22500-CMA Document 1-6 Entered on FLSD Docket 07/12/2013 Page 3 of 3



          Coral Gables,Florida 33146
          305-284-2700
